Case: 1:20-cr-00443 Document #: 52-7 Filed: 07/06/21 Page 1 of 5 PageID #:132




         Exhibit G
Case: 1:20-cr-00443 Document #: 52-7 Filed: 07/06/21 Page 2 of 5 PageID #:133
Case: 1:20-cr-00443 Document #: 52-7 Filed: 07/06/21 Page 3 of 5 PageID #:134
Case: 1:20-cr-00443 Document #: 52-7 Filed: 07/06/21 Page 4 of 5 PageID #:135
Case: 1:20-cr-00443 Document #: 52-7 Filed: 07/06/21 Page 5 of 5 PageID #:136
